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     JANET HEROLD
 1   Regional Solicitor
     ANDREW J. SCHULTZ
 2   Wage and Hour Counsel
     NATASHA A. MAGNESS (Wash. # 55920)
 3   Trial Attorney
 4   Office of the Solicitor
     United States Department of Labor
 5   300 Fifth Ave., Suite 1120
     Seattle, Washington 98104
 6   Telephone: (425) 388-3449
     Facsimile: (206) 757-6761
 7   Email: magness.natasha.a@dol.gov
 8   Attorneys for the Petitioner
     United States Department of Labor
 9
10                               UNITED STATES DISTRICT COURT
11                                       DISTRICT OF IDAHO
12
13
14
     EUGENE SCALIA, SECRETARY OF LABOR,                      )   Case No.: 4:20-cv-371
15   UNITED STATES DEPARTMENT OF LABOR,                      )
                                                             )
16                         Petitioner,                       )
                    v.                                       )
17                                                           )    SECRETARY’S PETITION TO
     GEORGE KATSILOMETES,                                    )    ENFORCE ADMINISTRATIVE
18                                                           )
                           Respondent.                       )    SUBPOENA DUCES TECUM
19                                                           )    ISSUED BY THE WAGE AND
                                                             )    HOUR DIVISION OF THE UNITED
20                                                           )    STATES DEPARTMENT OF
                                                             )    LABOR
21                                                           )
                                                             )
22                                                           )
23                                                           )

24          Eugene Scalia, Secretary of Labor, United States Department of Labor (the “Secretary”),
25   brings this Petition against George Katsilometes, Respondent.
26
            In support of the Petition, the Secretary attaches the following supporting documents: (1)
27
     Memorandum of Points and Authorities in Support of Secretary’s Petition to Enforce
28


     PETITION TO ENFORCE SUBPOENA                       1
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     Administrative Subpoena Duces Tecum; (2) Declaration of Michelle Phillips, Assistant District
 1
 2   Director of the Boise Field Office, Wage and Hour Division, United States Department of Labor

 3   (“Phillips Decl.”); (3) Declaration of Ruben Rosalez, Western Regional Administrator, Wage
 4
     and Hour Division, United States Department of Labor (“Rosalez Decl.”), and (4) Declaration of
 5
     Natasha Magness, Trial Attorney, Office of the Solicitor of Labor, United States Department of
 6
 7   Labor (“Magness Decl.”) (and all exhibits attached thereto).

 8           The Secretary concurrently lodges with the Court a Proposed Order to Show Cause. In
 9   support of his Petition, the Secretary alleges as follows:
10
                                       JURISDICTION AND VENUE
11
             1.       This Petition is brought to compel Respondent to comply with the administrative
12
13   Subpoena Duces Tecum (the “Subpoena”) served on him on April 28, 2020 by the United States

14   Department of Labor, Wage and Hour Division (“Wage and Hour”). The Subpoena was issued
15   in the course of a Department of Labor investigation of the Lava Hot Springs Inn LLC dba Lava
16
     Hot Springs Inn conducted pursuant to the Fair Labor Standards Act of 1938, as amended
17
     (“FLSA”), 29 U.S.C. § 201 et seq. Representatives for the Secretary attempted to obtain the
18
19   documents requested by the Subpoena without resort to judicial enforcement. Respondent,

20   however, failed to produce any of the documents requested by the Subpoena, resulting in the
21   need for this Petition.
22
             2.       This Court has subject matter jurisdiction over this Petition pursuant to section 9
23
     of the Federal Trade Commission Act, 15 U.S.C. § 49, as made applicable by section 9 of the
24
25   FLSA, 29 U.S.C. § 209.

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27
28


     PETITION TO ENFORCE SUBPOENA                          2
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     3.     Upon information and belief, at all times relevant to this Petition, Respondent George
 1
 2   Katsilometes, has owned and operated Lava Hot Springs Inn, LLC dba Lava Hot Springs Inn, 1

 3   Center Street, Lava Hot Springs, Idaho, 83246.
 4
            (a)      Respondent George William Katsilometes is the registered agent for service of
 5
     process for Lava Hot Springs Inn, LLC, with a principal and mailing address of 1424 E Maple
 6
 7   St., Pocatello, Id 83201-3262.

 8                                    INTRADISTRICT ASSIGNMENT
 9          4.       A substantial part of the events or omissions which give rise to this Petition
10
     occurred in Bannock County.
11
                                  INVESTIGATION AND SUBPOENA
12
13          5.       On or about April 23, 2020, Wage and Hour opened an investigation of Lava Hot

14   Springs Inn, LLC to determine whether any person had violated or was violating any provision
15   of the FLSA or any regulations promulgated thereunder during the period beginning April 23,
16
     2017. See Declaration of Michelle Phillips, (“Phillips Decl.”) ¶ 1.
17
            6.       On or about April 28, 2020, Ruben Rosalez, the Wage and Hour Regional
18
19   Administrator, issued an administrative Subpoena Duces Tecum to Respondent. See Declaration

20   of Ruben Rosalez (“Rosalez Decl.”) ¶ 2; Phillips Decl.¶ 5. A true and correct copy of the
21   Subpoena Duces Tecum and the Proof of Service are attached as Exhibit 1 and Exhibit 2. The
22
     Subpoena was issued in the course of Wage and Hour’s investigation into Respondent pursuant
23
     to Section 11(a) of the FLSA and sought documents that are relevant and material to Wage and
24
25   Hour’s investigation. Rosalez Decl. ¶ 2.
26          7.       The records, papers, and documents required to be produced as set forth in the
27
     Subpoena are relevant and material to Wage and Hour’s investigation of whether any person has
28


     PETITION TO ENFORCE SUBPOENA                         3
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     violated or is about to violate any provision of the FLSA. Phillips Decl. ¶ 8; Rosalez Decl. ¶ 3.
 1
 2   The Subpoena, and Respondent’s failure to comply with it, forms the basis for this Petition.

 3          RESPONDENT’S FAILURE TO COMPLY WITH THE SUBPOENA
 4
            9.       The Subpoena required Respondent to produce responsive documents by May 5,
 5
     2020. Rosalez Decl. at ¶ 2.
 6
 7          10.      To date, Respondent has failed to provide any documents in response to the

 8   Subpoena. Phillips Decl. ¶ 7; Magness Decl. ¶ 3.
 9          11.      The records, papers, and documents required to be produced as set forth in the
10
     Subpoena, which concern the wages, hours and other conditions and practices of employment
11
     maintained by Respondent and other records regarding the Lava Hot Springs Inn, LLC, are
12
13   relevant and material to the Secretary’s investigation of whether the FLSA has been violated.

14   Phillips Decl. at ¶9; Rosalez Decl. at ¶ 3.
15          12.      Respondent’s failure to provide the subpoenaed documents is impeding Wage and
16
     Hour’s ability to conduct a proper and timely investigation into possible wage, recordkeeping
17
     and child labor violations of the FLSA. Phillips Decl. at ¶ 9; Rosalez Decl. ¶ 3.
18
19                                        PRAYER FOR RELIEF

20          WHEREFORE, the Secretary prays:
21          a.       that this Court enter an order requiring Respondent to appear on a date certain to
22
     show cause, if any there be, why he should not appear before the designated representatives of
23
     the Wage and Hour Division, at such reasonable time and place as the Petitioner or the Court
24
25   may set, then and there to produce the records requested by the Subpoena;

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27
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     PETITION TO ENFORCE SUBPOENA                         4
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            b.       that this Court enter an order tolling the running of the applicable statute of
 1
 2   limitations from May 5, 2020, the date the documents were due, until such time as the Petitioner

 3   notifies this Court that Respondent has complied with the Subpoena; and
 4
            c.       for such other and further relief as may be necessary and appropriate.
 5
 6
 7          A proposed Order to Show Cause is filed concurrently herewith.

 8
 9          Dated: July 24, 2020
                                                    KATE S. O’SCANNLAIN
10                                                  Solicitor of Labor
11
                                                    JANET M. HEROLD
12                                                  Regional Solicitor
13                                                  SUSAN SELETSKY
14                                                  Wage and Hour Counsel

15                                                  ANDREW SCHULTZ
                                                    Wage and Hour Counsel
16
17                                                  NATASHA A. MAGNESS
                                                    Trial Attorney
18                                                  U.S. Department of Labor
19
20                                                   By: /s/ Natasha A. Magness
                                                            NATASHA A. MAGNESS
21                                                          Trial Attorney
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     PETITION TO ENFORCE SUBPOENA                          5
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                                                 EXHIBIT
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                 MICHELLE        Digitally signed by MICHELLE
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               lance@beardstclair.com
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From:             UPS Quantum View
To:               Phillips, Michelle M - WHD
Subject:          UPS Delivery Notification, Tracking Number 1ZW8Y8320198995931
Date:             Thursday, April 30, 2020 11:43:05 AM




     Hello, your package has been delivered.
     Delivery Date: Thursday, 04/30/2020
     Delivery Time: 12:40 PM
     Left At: SUBPOENA/COVER LETTER
     Signed by:     SIG ON FILE


     DOL-WHD-W-PORTLAND-DO

     SUBPOENA/COVER LETTER

      Tracking Number:                             1ZW8Y8320198995931
                                                   LAVA HOT SPRINGS INN
      Ship To:                                     1 CENTER STREET
                                                   LAVA HOT SPRINGS, ID 832461549
                                                   US
      Number of Packages:                          1
      UPS Service:                                 UPS Next Day Air®
      Package Weight:                              1.0 LBS




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